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                                           UNITED STATES DISTRICT COURT
          16
                                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
          17
                                                    OAKLAND DIVISION
          18

          19     EPIC GAMES, INC.,                           Case No. 4:20-cv-05640-YGR-TSH

          20                           Plaintiff, Counter-   DEFENDANT APPLE INC.’S
                                       defendant             ADMINISTRATIVE MOTION TO
          21                                                 PARTIALLY SEAL EXPERT WRITTEN
                       v.                                    DIRECT TESTIMONY
          22
                 APPLE INC.,
          23
                                       Defendant,
          24                           Counterclaimant.

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Crutcher LLP     DEFENDANT APPLE INC.’S ADMINISTRATIVE MOTION TO PARTIALLY SEAL EXPERT WRITTEN DIRECT
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            1           Pursuant to Federal Rule of Civil Procedure 26(c) and Local Rule 79-5, Defendant Apple Inc.
            2    (“Apple”) moves the Court to partially seal the written direct testimony of its experts. Apple
            3    respectfully requests that the Court seal non-public financial information. Apple’s proposed redactions
            4    of that information are highlighted in yellow in the attached unredacted versions. In addition, Apple
            5    has provisionally redacted information designated as confidential by Epic and third parties, after
            6    meeting and conferring with these parties. See Local Rule 79-5(e). Provisional proposed redactions
            7    of Epic or third party information is highlighted in blue in the attached unredacted versions.
            8                                              LEGAL STANDARD
            9           When a party seeks to seal records for use at trial, there is a “strong presumption in favor of
          10     access” that can be overcome only by “compelling reasons.” Kamakana v. City & County of Honolulu,
          11     447 F.3d 1172, 1178 (9th Cir. 2006) (quotation marks omitted). The party seeking to seal the document
          12     or proceedings must “articulate compelling reasons supported by specific factual findings that outweigh
          13     the general history of access and the public policies favoring disclosure.” Id. at 1178–79 (alteration,
          14     citation, and quotation marks omitted). “In general, ‘compelling reasons’ sufficient to outweigh the
          15     public’s interest in disclosure and justify sealing court records exist when such ‘court files might have
          16     become a vehicle for improper purposes,’ such as the use of records to gratify private spite, promote
          17     public scandal, circulate libelous statements, or release trade secrets.” Id. at 1179 (quoting Nixon v.
          18     Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978)).
          19                                                   DISCUSSION
          20            Here, Apple has narrowly tailored its sealing request. It seeks only to seal non-public financial
          21     information.
          22     A.     The Court Should Grant Apple’s Request As To Non-Public Financial Information
          23            Apple asks the Court to seal specific non-public financial information. As the Supreme Court
          24     has recognized, sealing may be appropriate to prevent judicial documents from being used “as sources
          25     of business information that might harm a litigant’s competitive standing.” Nixon v. Warner Comm’ns,
          26     Inc., 435 U.S. 589, 598 (1978). Accordingly, courts routinely seal information where disclosure could
          27     harm a litigant’s competitive standing. See, e.g., Philips v. Ford Motor Co., No. 14-cv-02989, 2016
          28     WL 7374214, at *6 (N.D. Cal. Dec. 20, 2016) (concluding that “need to avoid competitive disadvantage

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            1    in contract negotiations and undercutting by competitors is a compelling reason that justifies sealing”);
            2    Rodman v. Safeway Inc., No. 11-cv-03003, 2014 WL 12787874, at *2 (N.D. Cal. Aug. 22, 2014)
            3    (granting motion to seal “information discussing Safeway’s pricing strategy”).
            4           Non-public financial information in particular is routinely sealed because it can reveal sensitive
            5    information to a litigant’s competitors that would provide those competitors an unfair advantage in the
            6    future. See, e.g., Apple Inc. v. Samsung Electronics Co., Ltd., 727 F.3d 1214, 1225 (Fed. Cir. 2013)
            7    (concluding that the district court abused its discretion in denying a motion to seal as to “profit, cost,
            8    and margin data”); Vigdor v. Super Lucky Casino, Inc., No. 16-CV-05326, 2018 WL 4510734, at *2
            9    (N.D. Cal. Sept. 18, 2018) (sealing “business and financial information relating to the operations of
          10     Defendants”); Linex Techs., Inc. v. Hewlett-Packard Co., No. 13-CV-159, 2014 WL 6901744 (N.D.
          11     Cal. Dec. 8, 2014) (concluding that sensitive financial information falls within the class of documents
          12     that may be filed under seal).
          13            Apple has narrowly tailored its specific sealing requests, focusing only on non-public financial
          14     information that could be of interest to its competitors. In particular, Apple seeks to seal information
          15     about internal Apple calculations of the App Store’s market share, as well as about the total revenue
          16     generated by the App Store. See Written Direct Testimony of Lorin M. Hitt, Ph.D (“Hitt Direct”)
          17     ¶ 117, Figure 27; Written Direct Testimony of Richard Schmalensee, Ph.D (“Schmalensee Direct”)
          18     ¶ 170. It also seeks to seal information revealing what portion of that revenue is generated by particular
          19     apps or categories of apps. See Hitt Direct ¶ 117, Figure 22. Disclosure of this information about the
          20     inner workings of the App Store would give Apple’s competitors an unfair insight into Apple’s business
          21     model and strategy, putting Apple at a competitive disadvantage. It would also undermine Apple’s
          22     business relationship with its developer partners who trust that Apple will keep their private financial
          23     information confidential. Likewise, Apple seeks to seal information about a 2018 industry survey that
          24     it commissioned to evaluate the behavior of gamers on the App Store and other platforms. See Hitt
          25     Direct ¶ 61. Releasing this information to the public would provide competitors with unfair visibility
          26     into Apple’s process for making financial decisions or other business decisions.
          27            Based on similar concerns regarding the creation of an unfair field of competition, Apple seeks
          28     to shield from public disclosure an estimate made by Epic’s expert Dr. Evans of how much Apple could

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            1    have allegedly increased the App Store’s profits by raising prices. See Schmalensee Direct ¶ 95. Dr.
            2    Evans’s calculation is based on nonpublic App Store transaction data. Disclosure of his purported
            3    estimate could allow savvy readers to reverse-engineer information that Apple works hard to keep
            4    confidential, such as the number of iOS users who spend on IAP. Competitors who learn of this
            5    information would gain a competitive advantage over Apple. Dr. Evans’s estimate also relies on survey
            6    data that may be unreliable. Thus, disclosure of his estimate presents a risk of disrupting the orderly
            7    release of audited Apple financial statements and injecting needless volatility into Apple’s stock price,
            8    and in turn, market indices, including the S&P 500.
            9           Finally, Apple also seeks to seal information about how many iOS devices were sold from 2009
          10     to 2019. See Hitt Direct ¶ 187, Figure 47. Apple does not provide—and is not required to provide,
          11     under the applicable statutes and regulations—this information to the public. Disclosure of this
          12     information would cause Apple economic harm and allow Apple’s competitors to gain knowledge of
          13     Apple’s internal business operations that they would not have been able to access in the ordinary course
          14     of business.
          15     B.     Apple Takes No Position On The Information Designated As Confidential By Epic Or
                        Third Parties
          16
                        Subsection (e) of Local Rule 79-5 sets forth procedures that apply when a party seeks to file
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                 information designated as confidential by an opposing party or a non-party. The parties have met and
          18
                 conferred in good faith to de-designate as much information as possible. The written direct testimony
          19
                 of Apple’s experts includes information designated by Epic or third parties as “CONFIDENTIAL” or
          20
                 “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” under the protective order entered in
          21
                 this case. Apple takes no position on whether the information meets the standard for sealing at this
          22
                 time, but is filing the designated information under seal pursuant to the protective order and the Local
          23
                 Rules. Pursuant to Local Rule 79-5(e)(1), Epic and any third parties have four days to file a declaration
          24
                 establishing that the material is “sealable” (as defined in Local Rule 79-5(b)).
          25
                                                              CONCLUSION
          26
                        For the foregoing reasons, Apple respectfully requests that the Court partially seal the identified
          27
                 information.
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            3    Dated: April 27, 2021                          Respectfully submitted,
            4                                         GIBSON, DUNN & CRUTCHER LLP
            5

            6                                         By:       /s/ Rachel S. Brass
                                                                Rachel S. Brass
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            8                                         Attorney for Defendant Apple Inc.

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